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                                         December 20, 2018

 By ECF

 Hon. Richard J. Leon, U.S. District Court Judge
 U.S. District Court Judge for the District of Columbia
 E. Barrett Prettyman Courthouse
 333 Constitution Avenue Northwest
 Washington, DC 20001

           Re:    United States v. CVS Health Corporation, et al., Civil Action No. 18-2340 (RJL)

  Dear Judge Leon:

         In response to the Court’s request at the December 18, 2018 hearing, we write on behalf
 of CVS Health Corporation (“CVS”) concerning the four-step undertaking described in CVS’s
 Response to the Court’s Order to Show Cause (ECF No. 33). CVS voluntarily committed to
 these four steps, without a request from the government or a court order, because CVS believes
 they are appropriate to facilitate the Court’s Tunney Act review and for CVS’s business
 purposes. There is no need for an order from this Court or oversight from a monitor.

          CVS understands the Court’s desire for assurance that it will continue to follow the four
 steps while the Tunney Act proceeding is ongoing. CVS accordingly will commit to filing
 quarterly declarations with the Court certifying under oath that each step remains in place.
 CVS’s affirmative and voluntary promises to undertake the four steps and provide ongoing
 declarations demonstrate that the Company is prepared to do what is proper on a voluntary basis.
 While CVS believes it can commit to these for the period of the Tunney Act review, to the extent
 that it desires to modify or end one of the commitments, CVS will give the Court 30 days’ notice
 and an explanation of the reasons for the proposed change before implementing it.

 I.        The Court Did Not Impose a Monitor in AT&T, and One Is Not Necessary Here.

         The four steps CVS is taking are modeled on the provisions negotiated between the
 Department of Justice (“DOJ”) and AT&T during the appeal in United States v. AT&T. Civ. No.
 17-2511, ECF No. 148-1 (Letter from D. Petrocelli). AT&T undertook those measures
 voluntarily, without the need for a court order, and the Court did not appoint a monitor. See id.,
 ECF No. 148-2 (Proposed Order) (modifying Case Management Order only “to excise the post-
 ruling waiting period” and imposing no further obligation). DOJ and the Court did not request a
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monitor in AT&T even though the alleged harm spanned the entire merger. Nor did AT&T
provide quarterly declarations, as CVS now proposes. CVS respectfully submits that its
assurances of voluntary compliance are likewise sufficient. CVS will not deviate from these four
steps without first providing sufficient notice and explanation to the Court.

        CVS notes that its undertaking compares favorably with the steps in AT&T in three
respects. First, the posture of the AT&T case was different in a way that made the four steps
more critical. DOJ sought to block the AT&T merger altogether and took the position that
maintaining the separateness of the Turner networks was essential to preserving competition. In
this case, DOJ determined that, after the divestiture of Aetna’s Part D business to WellCare, the
combination of CVS and the remainder of Aetna’s business poses no risk of anticompetitive
harm. Second, AT&T acquired Time Warner in its entirety but agreed only to apply the
provisions to the Turner networks, one of three primary business units of Time Warner. CVS, on
the other hand, has agreed to apply the four steps not just to a business unit but to all of Aetna.
Third, as discussed below, CVS is proposing to provide sworn declarations on a quarterly basis,
which further exceeds AT&T’s commitments.

II.    The Costs and Burden of a Monitor Would Outweigh Any Benefits.

        Corporate monitors can be appropriate where the benefits of their oversight outweigh the
costs and burden to the company. Past experience indicates that the costs of corporate monitors,
no matter how narrowly their charter is drawn, can run into the millions of dollars. Where the
public and the Court benefit significantly from such a measure, those expenditures can be well
worthwhile. We respectfully submit, however, that this is not such a case.

        The monitor currently in place has specifically defined functions under the Proposed
Final Judgment aimed at ensuring that the divested Part D business is a viable competitor in that
marketplace and that the transition services provided to WellCare are satisfactory. To assist with
this task, the monitor has retained external consultants with Part D experience. Expanding the
monitor’s role to cover functions related to the non-divested portions of Aetna’s business likely
would require CVS to expend significant additional time and resources to provide the monitor
with sufficient familiarity with those aspects of the business for the monitor to certify the merged
parties’ adherence to the four steps. The monitor likely would have to become familiar with,
among other things, Aetna’s current and contemplated product offerings and pricing; the
compensation and benefits arrangements for thousands of employees; and the several firewall
policies that were implemented after review by the Department of Justice. To the extent the
monitor were permitted to retain additional outside experts, that would further increase the cost
and burden to CVS. There are few synergies between the monitor’s current Part D
responsibilities and those that may be required to oversee the four voluntary steps.

      To the extent the Court instead envisions that a monitor would merely contact the
company periodically to ask whether the four steps are still in place, see Hr’g Tr. of Dec. 18,
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2018 at 12:2–6, the same information could be more properly provided directly to the Court via
sworn declaration without the need for an intermediary to relay that information.

        As a legal matter, CVS also believes it would not be appropriate for the Court to order a
monitor concerning Aetna’s non-divested assets, for the same reasons it would not be appropriate
for the Court to enter a hold-separate order more generally, given the nature and scope of Tunney
Act review. See CVS Response to Order to Show Cause, ECF No. 33, at 17-20. The Court need
not consider that question, however, because CVS’s voluntary steps make a monitor
unnecessary.

III.   CVS Will Provide Quarterly Sworn Declarations.

        CVS has represented on the record and in open court that it will observe the four-step
undertaking. To provide further assurance that this commitment is continuing in nature, CVS
proposes to provide declarations of compliance, under penalty of perjury, on a quarterly basis
(commencing January 4, 2019) to certify that each step remains in place. CVS will not deviate
from these four steps without first providing 30 days’ notice and an explanation to the Court of
the reason for the change, which will give the Court time to consider the circumstances. These
sworn declarations would be submitted by CVS/Aetna employees with personal knowledge of
the steps and their implementation. CVS will continue to provide these declarations until the
conclusion of the Court’s Tunney Act review. We respectfully submit that this would be the
most appropriate way for Your Honor to ensure adherence to the four-step undertaking.

        CVS reiterates that it is fully committed to assisting the Court in the Tunney Act process,
and it has demonstrated that commitment through its voluntary undertakings. In these
circumstances, the Court should accept CVS’s assurances, bolstered by quarterly sworn
declarations, without issuing a formal order or imposing the burdens of a monitor.

                                                         Respectfully submitted,

                                                          /s/ Enu Mainigi
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